GLOBAL NOTES TO SCHEDULES AND STATEMENT OF FINANCIAL AFFAIRS OF
     DEBTOR, STREAM TV NETWORKS, INC., CASE NO. 21-10433(KBO)



        The Debtor develops its technology and conducts the majority of its business through its
direct and indirect foreign and domestic subsidiaries. The Debtor provided capital to its direct
and indirect foreign and domestic subsidiaries for the purpose of acquiring and developing assets
and to conduct business operations. The Debtor directs interested parties to the Declaration of
Mathu Rajan in Support of First Day Motions [Docket No. 51] in which the Debtor’s
organizational and operational structure is described in greater detail.

        In its bankruptcy schedules, the Debtor discloses and describes the assets, including its
ownership interest in direct subsidiaries and its contracts, that the Debtor owned or may have
owned as of February 24, 2021 (the “Petition Date”). The Debtor’s direct subsidiaries, in turn,
hold or may hold ownership interests in the Debtor’s indirect subsidiaries as depicted on the
Debtor’s Organization Chart included in Mr. Rajan’s Declaration. The assets of the Debtor’s
direct and indirect subsidiaries are not included in the Debtor’s bankruptcy schedules.

        It is important to note that, pursuant to an Omnibus Agreement, dated May 6, 2021,
between the Debtor’s senior secured lender, SLS Holdings VI, LLC (“SLS”) and a debt-
resolution committee of the Debtor’s Board of Directors purporting to act on the Debtor’s behalf,
which agreement is presently subject to litigation in the Chancery Court in Delaware, SLS
Holdings and its newly formed company, SeeCubic, Inc. (“SeeCubic”), assert an ownership
interest in all of the Debtor’s assets. SLS and SeeCubic possess some and claim to have obtained
possession or control of other of the Debtor’s assets shortly before the Petition Date. The
Debtor’s investigation into these claims is ongoing. Accordingly, at this time, the Debtor’s
present ownership of some of its assets may not be clear. The Debtor has listed the assets that it
believes it continues to own, unless otherwise expressly indicated in its bankruptcy schedules.
The Debtor intends to pursue recovery of assets and to operate its business under the provisions
of the Bankruptcy Code in this case.

Additional Notes:

       1.      Because US GAAP treatment may not apply to the Debtor’s assets located in
foreign jurisdictions, the values provided for certain assets may differ from typical accounting
standards.

        2.      Funding advanced by the Debtor to its direct and indirect subsidiaries are
reflected in intercompany loans.

      3.      The Debtor’s goodwill and similar intangible value is not reflected in the Debtor’s
bankruptcy schedules.

      4.       SeeCubic BV (the Netherlands) is a subsidiary of the Debtor, Stream TV
Networks, Inc. SeeCubic BV (the Netherlands) is unrelated to and is a separated entity from
SeeCubic Inc., a company newly formed in Delaware by SLS Holdings, Inc.



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 Fill in this information to identify the case:

 Debtor name         Stream TV Networks, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)         21-10433 (KBO)
                                                                                                                                Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1.         State what the contract or                  Supplier and CO
              lease is for and the nature of              Marketer
              the debtor's interest                       Debtor reserves the
                                                          right to assert that a
                                                          contract or lease is not
                                                          executory.                     BOE
                  State the term remaining                Expires 8/2/2024               No. 668 RD Xinzhan
                                                                                         General Pilot Zone, Heifei
              List the contract number of any                                            Anhui 230012
                    government contract                                                  China


 2.2.         State what the contract or                  Investment Banker
              lease is for and the nature of              The Debtor reserves
              the debtor's interest                       the right to assert that
                                                          a contract or lease is
                                                          not executory.
                  State the term remaining                Open
                                                                                         Boustead Securities
              List the contract number of any                                            6 Venture Street, Suite 395
                    government contract                                                  Irvine, CA 92618


 2.3.         State what the contract or                  Legal Services
              lease is for and the nature of              The Debtor reserves
              the debtor's interest                       the right to assert that
                                                          a contract or lease is
                                                          not executory.
                  State the term remaining                                               Cittone Demers & Arneri LLP
                                                                                         11 Broadway
              List the contract number of any                                            Suite 615
                    government contract                                                  New York, NY 10040


 2.4.         State what the contract or                  Capitalized Lease for
              lease is for and the nature of              computer server
              the debtor's interest                       The Debtor reserves
                                                          the right to assert that
                                                          a contract or lease is
                                                          not executory.                 Dell Financial Services
                  State the term remaining                                               One Dell Way
                                                                                         Round Rock, TX 78682

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 Debtor 1 Stream TV Networks, Inc.                                                               Case number (if known)   21-10433 (KBO)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

             List the contract number of any
                   government contract


 2.5.        State what the contract or                   Employment Recruiter
             lease is for and the nature of               The Debtor reserves
             the debtor's interest                        the right to assert that
                                                          a contract or lease is
                                                          not executory.
                  State the term remaining                Until terminated by
                                                          written notice                 Demartino
             List the contract number of any                                             875 Union Avenue
                   government contract                                                   Boulder, CO 80304


 2.6.        State what the contract or                   Accounting Firm
             lease is for and the nature of               The Debtor reserves
             the debtor's interest                        the right to assert that
                                                          a contract or lease is
                                                          not executory.                 Dezan Shira
                  State the term remaining                                               Suite EF06, east tower Twin Towers, B12
                                                                                         Jian Guo Men Wai Avenue
             List the contract number of any                                             Beijing 100022
                   government contract                                                   China


 2.7.        State what the contract or                   Legal Services
             lease is for and the nature of               The Debtor reserves
             the debtor's interest                        the right to assert that
                                                          a contract or lease is
                                                          not executory.
                  State the term remaining
                                                                                         Dilworth Paxson LLP
             List the contract number of any                                             1500 Market Street, Suite 3500E
                   government contract                                                   Philadelphia, PA 19102


 2.8.        State what the contract or                   Accounting Consultant
             lease is for and the nature of               for China
             the debtor's interest                        The Debtor reserves
                                                          the right to assert that
                                                          a contract or lease is
                                                          not executory.
                  State the term remaining                Initial Term is 3 months
                                                          but can be cancelled           FTI Consulting
                                                          with 15 days written           Unit 2101-04, Central Plaza
                                                          notice                         227 Huangpi (N) Road
             List the contract number of any                                             Shanghai 200003
                   government contract                                                   China


 2.9.        State what the contract or                   Staffing Firm
             lease is for and the nature of               The Debtor reserves
             the debtor's interest                        the right to assert that       Game 7 Staffing
                                                          a contract or lease is         1214 West 6th Street
                                                          not executory.                 Suite 210
                  State the term remaining                Continuous until               Austin, TX 78703
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 Debtor 1 Stream TV Networks, Inc.                                                               Case number (if known)   21-10433 (KBO)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                                                          terminated with 10 day
                                                          written notice
             List the contract number of any
                   government contract


 2.10.       State what the contract or                   Purchase Order
             lease is for and the nature of               The Debtor reserves
             the debtor's interest                        the right to assert that
                                                          a contract or lease is
                                                          not executory.
                  State the term remaining                N/A
                                                                                         Google Purchase Orders
             List the contract number of any                                             1600 Amphitheatre Parkway
                   government contract                                                   Mountain View, CA 94043


 2.11.       State what the contract or                   Omnibus Agreement
             lease is for and the nature of
             the debtor's interest
                                                                                         Hawk Investment Holdings Limited
                  State the term remaining                                               Newport House
                                                                                         15 The Grange, St. Peter Port
             List the contract number of any                                             Guernsey GY1 2QL, Channel Islands
                   government contract


 2.12.       State what the contract or                   License to use HDMI
             lease is for and the nature of               The Debtor reserves
             the debtor's interest                        the right to assert that
                                                          a contract or lease is
                                                          not executory.
                  State the term remaining                Expires 4/19/2026              HDMI
                                                                                         550 S. Winchester Boulevard
             List the contract number of any                                             Suite 515
                   government contract                                                   San Jose, CA 95128


 2.13.       State what the contract or                   Small and Mass
             lease is for and the nature of               production lines for
             the debtor's interest                        bonding
                                                          The Debtor reserves
                                                          the right to assert that
                                                          a contract or lease is
                                                          not executory.                 Iinuma Gauge
                  State the term remaining                                               Manufacturing Co., Ltd (JPY)
                                                                                         11400-327 Harayama, Tamagawa
             List the contract number of any                                             Chino-City Nagano, Japan
                   government contract                                                   391-0011




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              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.14.       State what the contract or                   Various study and
             lease is for and the nature of               potential marketing
             the debtor's interest                        services
                                                          The Debtor reserves
                                                          the right to assert that
                                                          a contract or lease is
                                                          not executory.
                  State the term remaining                Continuous until               IMG Media Ltd
                                                          terminated by 30 day           Building 6, Chiswick Park
                                                          written notice                 566 Chiswick High Road
             List the contract number of any                                             London, England
                   government contract                                                   UK W4 5HR


 2.15.       State what the contract or                   Customer & Comp. for
             lease is for and the nature of               investment
             the debtor's interest                        The Debtor reserves
                                                          the right to assert that
                                                          a contract or lease is
                                                          not executory.
                  State the term remaining                                               IQH3D
                                                                                         6800 SW 40th Street
             List the contract number of any                                             Suite 298
                   government contract                                                   Miami, FL 33155


 2.16.       State what the contract or                   Finder
             lease is for and the nature of               The Debtor reserves
             the debtor's interest                        the right to assert that
                                                          a contract or lease is
                                                          not executory.                 Jinsheng
                  State the term remaining                ends 7/3/2021                  12/f SanToi Building
                                                                                         137-139 Connaught Road
             List the contract number of any                                             Central Hong Kong
                   government contract                                                   China


 2.17.       State what the contract or                   Engineering Consulting
             lease is for and the nature of               Services
             the debtor's interest                        The Debtor reserves
                                                          the right to assert that
                                                          a contract or lease is
                                                          not executory.
                  State the term remaining
                                                                                         JoveAI
             List the contract number of any                                             44081 Old Warm Springs Blvd.
                   government contract                                                   Fremont, CA 94538


 2.18.       State what the contract or                   Auditors
             lease is for and the nature of               The Debtor reserves
             the debtor's interest                        the right to assert that
                                                          a contract or lease is
                                                          not executory.
                  State the term remaining                May be terminated at           Marcum LLP
                                                          any time                       One SE Third Ave, Suite 1100
             List the contract number of any                                             Miami, FL 33131
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 Debtor 1 Stream TV Networks, Inc.                                                               Case number (if known)   21-10433 (KBO)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.19.       State what the contract or                   Server Farm Provider
             lease is for and the nature of               The Debtor reserves
             the debtor's interest                        the right to assert that
                                                          a contract or lease is
                                                          not executory.
                  State the term remaining                                               MotivIT
                                                                                         2880 Zanker Road
             List the contract number of any                                             Suite 203
                   government contract                                                   San Jose, CA 95134


 2.20.       State what the contract or                   Settlement for
             lease is for and the nature of               OEM/ODM
             the debtor's interest
                                                                                         Pegatron Corporation
                  State the term remaining                                               5F., No. 76, Ligong
                                                                                         St. Beltou District
             List the contract number of any                                             Taipei City 112
                   government contract                                                   Taiwan


 2.21.       State what the contract or                   Investment
             lease is for and the nature of               Banker/Broker
             the debtor's interest                        The Debtor reserves
                                                          the right to assert that
                                                          a contract or lease is
                                                          not executory.
                  State the term remaining                May be terminated              Ruffena Capital Ltd
                                                          upon 1 month written           Portman House
                                                          notice                         2 Portman Street
             List the contract number of any                                             London W1H 6DU
                   government contract


 2.22.       State what the contract or                   Omnibus Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Ongoing
                                                                                         SeeCubic Inc.
             List the contract number of any                                             251 Little Falls Drive
                   government contract                                                   Wilmington, DE 19808


 2.23.       State what the contract or                   Omnibus Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               SLS Holdings VI, LLC
                                                                                         Attn: Shad Stastney
             List the contract number of any                                             392 Taylor Mills Road
                   government contract                                                   Marlboro, NJ 07746


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              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.24.       State what the contract or                   Staffing Firm
             lease is for and the nature of               The Debtor reserves
             the debtor's interest                        the right to assert that
                                                          a contract or lease is
                                                          not executory.
                  State the term remaining                Until cancelled                Technical Link
                                                                                         8461 Lake Worth Road
             List the contract number of any                                             Suite 225
                   government contract                                                   Lake Worth, FL 33467


 2.25.       State what the contract or                   Staffing Firm
             lease is for and the nature of               The Debtor reserves
             the debtor's interest                        the right to assert that
                                                          a contract or lease is
                                                          not executory.
                  State the term remaining                Until cancelled                Triple Crown Consulting, LLC
                                                                                         10814 Jollyville Road
             List the contract number of any                                             Suite 100
                   government contract                                                   Austin, TX 78759


 2.26.       State what the contract or                   Finder
             lease is for and the nature of               The Debtor reserves
             the debtor's interest                        the right to assert that
                                                          a contract or lease is
                                                          not executory.                 YTH
                  State the term remaining                ends 7/3/2021                  3/F Heng Shan Centre
                                                                                         145 Queen's Road
             List the contract number of any                                             Wan Chai, Hong Kong
                   government contract                                                   China


 2.27.       State what the contract or                   Legal Services
             lease is for and the nature of               The Debtor reserves
             the debtor's interest                        the right to assert that
                                                          a contract or lease is
                                                          not executory.                 Zhong Lun Law Firm
                  State the term remaining                Terminated upon                Level 10 & 11, Two IFC, 8 Century Avenue
                                                          written notice                 Pudong New Area
             List the contract number of any                                             Shanghai 20021
                   government contract                                                   China




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